Case 1:18-cv-10933-RA Document 18-10 Filed 12/17/18 Page 1 of 10

 
Case 1:18-cv-10933-RA Document 18-10 Filed 12/17/18 Page 2 of 10

4[A].A picture of Marian Kurpanov post on his Instagram

~ 22 mariankurpanov oe

 

a/R
PQ?
@ 703 likes

mariankurpanov Rick Day NY..

i An ry
Eee Raced

    
Case 1:18-cv-10933-RA Document 18-10 Filed 12/17/18 Page 3 of 10

4[B]. Marian Kurpanov exchanging comments post on his Instagram

ie, eva.asensio_ “ne

i

 

OQ?

> 14 views

eva.asensio_ Bulgaria lost @mariankurpanov
@flowerjuiceprincess

mariankurpanov Guess you didn't support the
Bulgarian, that's why he lost...
Case 1:18-cv-10933-RA Document 18-10 Filed 12/17/18 Page 4 of 10

4[C]. Marian Kurpanov exchanging comments post on his Instagram

Ge, eva.asensio_ eee

ae

 

COA?

>» 61 views

eva.asensio_ Thanks for the awesome week
@flowerjuiceprincess

 

ew all 3 comme

mariankurpanov At the end, not that bad at all?!
wok
eva.asensio_ @rosealidjohnson it is tubing

5 DAY Ss Ata

10
Case 1:18-cv-10933-RA Document 18-10 Filed 12/17/18 Page 5 of 10

4[C]. Marian Kurpanov exchanging comments post on his Instagram

11

mariankurpanov
Pompano Beach Clu...

212 likes

mariankurpanov Love my job... &
#fashion #modeling #Bermuda

missbosak Are those ur knees?

mariankurpanov @missbosak it could have
been yours together with mine OY ®eag

alessandro_bruno ©
domenicozambelli

devtanna love it

 
Case 1:18-cv-10933-RA Document 18-10 Filed 12/17/18 Page 6 of 10

5. Plaintiff guzzling alcohol from a bottle dressed in what appears to be
sexual fetish garb while at a purported arts festival in the desert known as
“Burning Man” which is notorious for illegal drug use

 

12

264 likes

missbosak Current mood as I'm entering

my 4th day of detox .... ©)
#memoriesofBM #burningmants

#caughinthemoment @& @cthelamb

xaussichtsios <ixdmnkspngtx aslayer/41
#burningman

adgoprot Haha, cool shot
bobbie_wayne_organic #100

shimbo Of course my boy Gicthelamb
caught this @missbosak. Miss you CL.

the_doublem #playabunny

Log In to like or comment.
Case 1:18-cv-10933-RA Document 18-10 Filed 12/17/18 Page 7 of 10

6[A] Plaintiff posing by window in her apartment in bikini-underwear
pulling up her sleeveless t-shirt to expose her breast and midsection.

694 likes

imagefolic Even though | celebrate
women 365 days a year here is my
official #Womensdaynost #warmachine
#compintentutritionmecissoxy

svetiana024 tyambaryshev

fabianoliei Good

real.amirhossein Please followin me
dolapolitt othe only irene depressed
men

imagefolio Adolopoandderya

athe only irene beautiful girs X%
dance on!

imagefolio And £

e@dolaposndderya that was funny though

Log in to ke of comment,

aa imagefolio

bai"

407 tikes

imagefolio Call of Duty Wai He with
miss Purple Hearts her self Gr Gragg
@missbosalk
#blackandwhiteisworththefight
@blackandwhitelsworththelight entry

peruzart Nicelny

the_alyssap Locoooccodco00000vece
eee. | need boobs like that &

imenalikewow Love

vinyrd &

tresvainas Fav so far.

cannon _show ta
sarahmariajpg ©OOd 8
diarlodeunarquitecto Wuuuuiu

imagefolic Galyssapettinate they are!
Urs are &

imagefolio Gimenalikewow 4

Log in to like or comment.

 

13
Case 1:18-cv-10933-RA Document 18-10 Filed 12/17/18 Page 8 of 10

6[B]. Eva imitating the Plaintiff by window in her apartment with shirt lifted
to expose bare midriff

@0000 Verizon 2:11PM Melee ly

EVA.LICIOUS1

 

22/

e

   

 

 

+ FOLLOW 1 ew

 

 

Eva‘it’ & & & wy Ga

Wagner woives and the track team dominates. "I don't
have anything against you non chocoholics but... You
know who you are.."- Pseudonymous blosch

 

@ 48 likes

eva.asensio_ This proves furthermore that
@flowerjuiceprincess is and awesome photographer

flowerjuiceprincess Thanks¢s

 

14
Case 1:18-cv-10933-RA Document 18-10 Filed 12/17/18 Page 9 of 10

7. Plaintiff posing naked in photographs, including a photograph of Plaintiff naked
on the family dining room table which she has posted to a website named “Mind
the Crack;”

 

Mind the crack @ ©

 

15
Case 1:18-cv-10933-RA Document 18-10 Filed 12/17/18 Page 10 of 10

8[A]. Plaintiff posted a picture of herself on Instagram where she posts picture
of Eva engaged in a blatantly sexual kiss with another woman.

e000 Verizon > 2:27 PM % 70% i>)
PHOTO ©
emiliebosak ~ “wow

 

 

12 likes

emiliebosak Turkish royalty!
oluchil 6s.

 

16
